Case 4:21-cv-00271-MW-MAF Document 122-2 Filed 07/01/22 Page 1 of 4




                    Exhibit B
     Case 4:21-cv-00271-MW-MAF Document 122-2 Filed 07/01/22 Page 2 of 4




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA

                        Case No. 4:21-cv-00271-MW-MAF



WILLIAM A. LINK; et al.,

      Plaintiffs,

v.

RICHARD CORCORAN, in his official
capacity as the Florida Commissioner
of Education; et al.,

     Defendants.
______________________________________/


                    DECLARATION OF RICHARD CORCORAN

      1.     My name is Richard Corcoran, I am over the age of eighteen, and I am

competent to make this declaration based on personal knowledge.

      2.     I am currently a member of the Florida Board of Governors of the State

University System. I was appointed to the Board of Governors by Governor

DeSantis on May 27, 2022.

      3.     Prior to that time, I was the Commissioner of the Florida Department

of Education from December 17, 2018 until April 30, 2022. In my capacity as

Commissioner, I served as the chief educational officer of the state of Florida and

was responsible for giving full assistance to the State Board of Education in the
    Case 4:21-cv-00271-MW-MAF Document 122-2 Filed 07/01/22 Page 3 of 4




administration and supervision of the Florida Department of Education. In that role,

I was also a member of the Florida Board of Governors.

      4.     I have reviewed the Amended Complaint and am familiar with the

issues raised by Plaintiffs in this case.

      5.     I was originally made a party to this lawsuit by virtue of my position as

a public officer as the Commissioner of the Florida Department of Education, until

the time of my resignation as Commissioner on April 30, 2022.

      6.     I am presently a party to this lawsuit based upon my position as a public

officer as a member of the Florida Board of Governors.

      7.     At the time HB 233 (2021) was passed, I was the Commissioner of

Education and a member of the Florida Board of Governors.

      8.     I was not personally involved in the drafting or passage of HB 233.

      9.     I have not been personally involved with the administration of HB 233.

      10.    More specifically, I have not been personally involved in the creation

or administration of the surveys required by HB 233.

      11.    I have also not been personally involved with the administration or

application of the anti-shielding provisions or recording provisions of HB 233.




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Case 4:21-cv-00271-MW-MAF Document 122-2 Filed 07/01/22 Page 4 of 4
